                                      UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF DELAWARE

In re FTX Trading Ltd., et al, Chapter 11 Case No. 22-11068 (JTD), (jointly administered)

                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.


SPCP Institutional Group, LLC                                     Park Walk Credit Partners LLC
Name of Transferee                                                Name of Transferor
                                                                  1120 S. Capital of Texas Hwy, Building 1, Suite 120
                                                                  Austin, TX 78746
                                                                  Attn: Jesse Hibbard
                                                                  Email: Jesse@parkwalk.com


                                                                  Court Claim # (if known): 1241

                                                                  Amount of Claim Transferred: $553,127.45
                                                                  Date claim filed: 3/16/23
                                                                  Total Amount of Claim $3,542,509.59


Name and Address where notices to transferee should be sent:
SPCP Institutional Group, LLC
2 Greenwich Plaza
1st Floor
Greenwich, CT 06830
Attn: Operations
12017192157@tls.ldsprod.com
-and-
rbeacher@pryorcashman.com

Name and Address where transferee payments
should be sent (if different from above):

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
knowledge and belief.
SPCP Institutional Group LLC


By: _____________________________________ Date:                   April 12, 2023 _______________________
        Transferee/Transferee’s Agent
        Jennifer Poccia
        Authorized signatory


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
152 & 3571.
                              EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court for the District of Delaware ("Bankruptcy Court")

Attn: Clerk

AND TO: FTX Trading Ltd, Case No. 22-11068 (JTD) pending in the United States Bankruptcy Court
for the District of Delaware (the "Debtor")

re: Claim #: 1241

Park Walk Credit Partners LLC ("Seller"), for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, does hereby certify that it has unconditionally
and irrevocably sold, transferred and assigned unto:

SPCP Institutional Group, LLC
2 Greenwich Plaza, First Floor, Greenwich, CT 06830
Attention: Operations
E-mail: 12017192157@tls.ldsprod.com


and its successors and assigns ("Purchaser"), all of Seller's right, title and interest in and to Proof of
Claim No. 1241 in the amount of $553,127.45 (the "Claim"), against the Debtor in the Bankruptcy
Case.

Seller hereby waives any objection to the transfer of the Claim to Purchaser on the books and records of
the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a
hearing as may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedure, the United States
Bankruptcy Code, applicable local bankruptcy rules or other applicable law. Seller acknowledges and
understands, and hereby stipulates that an order of the Bankruptcy Court may be entered without further
notice to Seller transferring to Purchaser the Claim and recognizing the Purchaser as the sole owner and
holder of the Claim.

Seller (separate from the above assignment), hereby irrevocably instructs and directs the Debtor (coupled
with an interest to Purchaser) to make all future payments and distributions, and to give all notices and
other communications, in respect of the Claim to Purchaser.




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IN WITNESS WHEREOF, the undersigned has duly executed this Evidence of Transfer of Claim by its
duly authorized representative dated March 31, 2023.


                                                           PARK WALK CREDIT PARTNERS
                                                           LLC

                                                           ___________________________
                                                           By:
                                                           Title:




                                                           SPCP INSTITUTIONAL GROUP,
                                                           LLC

                                                           ___________________________
                                                           By:    Jennifer Poccia
                                                           Title: Authorized Signatory




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